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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

CASE NO. 1:10-cr-00317-REB-2

UNITED STATES OF AMERICA,

              Plaintiff,

v.

2. RICHARD KELLOGG ARMSTRONG,

              Defendant.


                                NOTICE OF APPEARANCE



       The Office of the Federal Public Defender, by and through undersigned counsel,

hereby enters its appearance in the above captioned case. Counsel appears pursuant to

District of Colorado General Order 2019-01, which appoints the Federal Public Defender

to “pursue relief” on behalf of “all defendants convicted in this District who may be

eligible for retroactive relief under Section 404 of the [First Step] Act.”


                                           Respectfully submitted,

                                           VIRGINIA L. GRADY
                                           Federal Public Defender



                                           s/ Meredith B. Esser
                                           MEREDITH B. ESSER
                                           Assistant Federal Public Defender
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                                           Attorney for Defendant
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                              CERTIFICATE OF SERVICE

        I hereby certify that on July 3, 2019, I filed the foregoing Notice of Appearance
with the Clerk of Court using the CM/ECF system, which will send notification of such
filing to the following e-mail addresses:

       Barbara Skalla, Assistant United States Attorney
       Email: Barbara.Skalla@usdoj.gov

       I hereby certify that I have mailed or served the document or paper to the
following participant in the manner (mail, hand-delivery, etc.) indicated next to the
participant’s name:

       Richard Kellogg Armstrong (via U.S. mail)



                                          s/ Meredith B. Esser
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